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                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION




SYMBOLOGY INNOVATIONS, LLC,                    Case No: 2:16-cv-0450-JRG
                  Plaintiff                          LEAD CASE
v.

CITIBANK, N.A..

                  Defendant.


                                              Case No. 2:16-CV-00600-JRG
SYMBOLOGY INNOVATIONS, LLC,
                                                CONSOLIDATED CASE
                  Plaintiff

v.

NETGEAR, INC.

                  Defendant.




NETGEAR INC.'S MOTION AND BRIEF IN SUPPORT OF MOTION TO TRANSFER
VENUE TO THE NORTHERN DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C.
                             § 1404(A)




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I.     INTRODUCTION

       Plaintiff Symbology Innovations, LLC (“Symbology”) chose to file this patent

infringement lawsuit against NETGEAR, Inc. (“NETGEAR”) in the Eastern District of Texas

despite NETGEAR’s headquarters in the Northern District of California, which is where

NETGEAR’s alleged direct infringement – internal use and testing of the accused products –

takes place, and where NETGEAR also designs, markets and sells the accused products.

Whereas the vast majority of key witnesses and documents that are relevant to this case are

located in the Northern District of California, Symbology has only an attenuated connection to

this district and few, if any, witnesses or relevant documents are located here.                 For the

convenience of the parties, NETGEAR hereby moves to transfer the case to the Northern District

of California under 28 U.S.C. Section 1404(a) for at least the following reasons.

       First, Symbology could have brought this case in the Northern District of California,

where NETGEAR would be subject to jurisdiction.

       Second, California is clearly the hub of the accused activity. The alleged direct

infringement asserted against NETGEAR (internal use and testing) occurs in NETGEAR’s San

Jose, California headquarters, which is also home to the company’s senior management and its

marketing, engineering, product management, operational, sales and financial reporting

departments. The key witnesses and documentary and electronic data evidence concerning the

Accused Products and activities are thus located in the Northern District of California.

       Third, Plaintiff’s connection to the Eastern District of Texas is “recent, ephemeral, and a

construct for litigation,” and entitled to little or no weight. In re Microsoft Corp., 630 F.3d 1361,

1365 (Fed. Cir. 2011). Symbology was created as a Texas corporation shortly before acquiring,

and initiating litigation based upon, the patents-in-suit. Its registered agent, who is also the sole



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named inventor of the patents-in-suit, resides in Florida. The attorneys and law firms that

prosecuted the patents-in-suit, as well as a prior art witness NETGEAR has identified and at least

three third party witnesses with relevant knowledge of the Accused Products, are also located

outside of Texas, with at least two located within the Northern District of California.

       Fourth, no efficiencies would be gained at this early stage of litigation by maintaining

this case in the Eastern District of Texas because, among other things, although Symbology has

filed serial co-pending cases here, most have settled early and the Court has not substantively

addressed the patents-in-suit in any opinion or Order. Moreover, Symbology’s choice to file

serial cases here should not sway the transfer analysis in any event. GeoTag, Inc. v. Aromatique,

Inc. No. 2:10-cv-570-MHS, 2013 WL 8349856, at * 5 (E.D. Tex. Jan. 14, 2013) (courts “will not

permit the existence of separately filed cases to sway its transfer analysis. Otherwise, a plaintiff

could manipulate venue by serially filing cases within a single district.”).

       Finally, in a well-reasoned opinion, Magistrate Judge Love has already transferred other

patent litigation against NETGEAR to the Northern District of California in light of, among

other things, NETGEAR’s California base and the convenience to its foreseeable employee

witnesses – facts that are also present here. See Chrimar Systems, Inc. v. NETGEAR, Inc., Civil

Action No. 6:15-cv-00634 JRG-JDL, Dkt. 34 (1/15/16 Order) (transferring patent infringement

case to the Northern District of California under Section 1404(a)), Appendix 1, hereto. Here, as

in Chrimar, the convenience of the parties and witnesses and the interests of justice all favor

transfer to the Northern District of California under 28 U.S.C. § 1404(a).

II.    FACTUAL BACKGROUND

       A.      Procedural history

       Symbology filed this lawsuit on June 7, 2016, alleging that NETGEAR infringes three



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patents, United States Patents No. 8,424,752, No. 8,651,369, and No. 8,936,190 (collectively

“Asserted Patents”). (Dkt. 1.) Plaintiff’s Complaint alleges that NETGEAR is infringing the

Asserted Patents by “by using and/or incorporating Quick Response Codes (QR codes) in

product advertising and/or packaging,” including “through internal testing”, “use of QR codes on

product advertising, including a website, for [the] Netgear Genie App” and “in connection with

its product literature” (hereafter “Accused Products”). (Dkt. 1 at ¶ ¶ 13-15, 27-29, 41-43.)

Plaintiff’s Infringement Contentions assert just three patent claims – all method claims – and

specifically accuse NETGEAR of direct infringement based on its “internal use and testing” of

the NETGEAR Genie App. (Declaration of John P. Bovich (“Bovich Dec.”) Exh. A.)

       Since February 2015, Symbology has filed more than 45 actions in the Eastern District of

Texas based upon the same Asserted Patents. (Bovich Dec. ¶3, Exh. B.) All but two (of at least

32 total) lawsuits that Symbology filed here in 2015 have been dismissed and/or closed. (Id.)

This lawsuit is currently consolidated – for all purposes except venue determinations and trial –

with 15 other lawsuits that Symbology filed in subsequent waves on April 26, 2016 and June 7,

2016 against multiple companies, including Bank of American Corporation, Pioneer Electronics

and LifeLock, Inc. (See Dkts. 4, 5. 52.) Highlighting the lack of any real need to litigate in this

venue for the convenience of the Plaintiff or the parties, Symbology recently chose to file, on

July 20, 2016, at least five additional cases concerning the same Asserted Patents in a different

venue – the Southern District of Florida. (Bovich Dec. ¶3, 4, Exh. C.)

       B.      NETGEAR And Its Relevant Documents and Witnesses Are Based In San
               Jose, California

       NETGEAR is a worldwide provider of innovative, branded networking solutions.

(Declaration of Jennifer Khouri (“Khouri Dec.” ¶2.) NETGEAR’s headquarters and its principal

place of business are located at 350 East Plumeria Drive, San Jose, California 95134. (Id.)


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NETGEAR’s senior management, about 70 percent of its employees, and most of its documents,

are based at the company’s headquarters in San Jose, California. (Id. at ¶3.)

       The accused “internal use and testing” of the NETGEAR Genie App takes place at

NETGEAR’s headquarters, and NETGEAR does not conduct any accused use or testing in

Texas. The NETGEAR departments with primary responsibility for the Accused Products,

including operations, marketing, product management, engineering, sales and accounting are all

located in and managed from the Northern District of California. (Id. at ¶4). Similarly,

NETGEAR’s employees with information concerning the accused NETGEAR products –

including their testing, design, development, operation, advertising, packaging, testing, website

design and functionality, and product literature – are all based at NETGEAR’s San Jose,

California headquarters. (Id. ¶ ¶6-15). A company in China, DragonFlow, writes the software

related to QR codes, and the business relationship between NETGEAR and DragonFlow is

managed from the San Jose office.         (Id. ¶7).   As set forth in the Khouri Declaration,

NETGEAR’s likely corporate representatives and employees with information material to at

least issues of non-infringement and alleged damages are located in the Northern District of

California. (Id. at ¶¶ 6-15.)

       Likewise, any NETGEAR hard copy documents related to the Accused Products, such as

marketing, advertising, packaging, testing, product literature and exemplary products and

materials, are located in San Jose, California. (Id. at ¶19.) In addition, NETGEAR’s electronic

data, which is largely located on employee laptops and desktop computers in San Jose, and

servers located in San Jose, California and Mesa, Arizona, would be collected, for purposes of

this case, by members of the IT department located in San Jose. (Id. at ¶20.) NETGEAR’s San

Jose-based employees, including NETGEAR’s IT department, also access during the regular



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course of their business electronic data that may be relevant to this lawsuit which is stored on

third party cloud-based servers. (Id.)

       NETGEAR does not have an office in Texas and does not otherwise maintain any facility

here. (Id. at ¶21.) NETGEAR also has no IT department employees in Texas (or Arizona). (Id.)

Three NETGEAR employees work out of their homes in Texas, but these employees have no

unique information concerning the accused products, and the more senior NETGEAR employees

based in San Jose, California are more likely to be called to testify as witnesses or corporate

representatives in this matter. (Id.)

      C.     At Least Two Potentially Relevant Third Party Witnesses Are Located in the
Northern District of California and None Are Located in Texas

       None of the third parties that may have information relevant to this lawsuit are based in

Texas. The sole inventor and registered agent for Symbology, Leigh Rothschild, is based, and

conducts activities, in Florida. (Bovich Dec. Exhs. D-I.)1 The prosecuting attorney, Atanus

Das, is based in Chicago (id. Exh. K), and the law firms identified on the face of the Asserted

Patents are either dissolved (DaVinci Intellectual Property LLC) or currently based in California,

not Texas (Techlaw LLP). (Dkt. 1, Exhs. A-C; Bovich Dec. Exhs. L, M.)

       NETGEAR has also identified at least U.S. Patent No. 6,993,573 (the ‘573 patent) which

is highly relevant in this case because it anticipates the asserted claims. (Bovich Dec. Exhs. N,

O.) The ‘573 patent lists as the inventor Kevin D. Hunter in Fort Myers, Texas, and records

indicate that he remains in Fort Myers and/or is in New York – not Texas. (Id. Exhs. N, P, Q.)

       Similarly, according to corporate and state records, the past assignees of the Asserted


1 Mr. Rothschild is affiliated with and/or manages multiple companies in Florida, including one
formed as recently as recently as June 2016: Ariel Inventions, LLC, (id. Exh. F), Inventaur
Management (June 2016 formation), (id. Exh. G); Rothschild Mobile Imaging Innovations (id.
Exh. H); Rothschild Trust Holdings (id. Exh. I), Reagan Innovations, LLC (id. Exh. J.)


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Patents are located in Florida – not Texas. Specifically, before the patents were assigned to

Symbology, their owners included Mr. Rothschild (the sole named inventor), Ariel Inventions,

LLC (“Ariel”), to whom Mr. Rothschild assigned the patents in 2013 and 2014, and Reagan

Inventions, LLC (“Reagan”), to whom the ‘752 patent was assigned in 2012. (Id. Exhs. R-U.)

Mr. Rothschild, Ariel and Reagan are all located in Florida, and Mr. Rothschild is the registered

agent and/or manager of all prior assignees. (Id. Exhs. F, J.)2

       While none of the potential third party witnesses are located within the Eastern District of

Texas (or Texas at all), there are at least two potential third party witness located in the Northern

District of California. NETGEAR’s former Vice President of Home/Consumer Products, Vivek

Pathela, worked at NETGEAR for over ten years until 2011, during which time he conceived of

the overall concept for NETGEAR’s Genie App (and also came up with its name.) Mr. Pathela

would have relevant unique information concerning the conception of the Genie App, and also

relevant information concerning its functionality and design. Mr. Pathela remains in the Bay

Area at a company called “Omny IQ” located in Saratoga, California, within the Northern

District of California. (Khouri Dec. ¶16; Bovich Dec. Exs. EE, FF.) In addition, a former Senior

Product Manager at NETGEAR, Alice Tsang, has relevant and unique information concerning

the design, development and operation of the Genie App. Tsang remains in the Bay Area,

currently working as a Software Engineer at Promise Technology, Inc. in Milpitas, California

within the Northern District of California. (Khouri Dec. ¶18; Bovich Dec. Exs. GG, HH.)

       D.      Symbology’s Purported Connection to the Eastern District of Texas Was
               Created for Litigation Purposes

       Symbology incorporated in Texas in December 2014, just before being assigned the


2 One of NETGEAR’s former employees, Nan Wang, who was involved in Beijing-based test
enginnering related to the Genie App, remains in Beijing. (Khouri Dec. ¶17.)


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patents in suit and filing its first wave of lawsuits based on the Asserted Patents. (Bovich Dec.

Exhs. B, D, U.) Symbology’s registered agent is the named inventor who is based in Florida.

(See Dkt. 1, Exhs. A-C; Bovich Dec. Exhs. D-J.) In its initial diclosures, Symbology identifies

only the Florida-based named inventor (who is also its agent) and prosecuting attorney (Atanus

Das in Chicago) as potential individual witnesses with relevant knowledge concerning this case.

(Bovich Dec. Ex. II.) And to the extent any Symbology documents relevant to the asserted

patents are even located in Texas, they would have been recently transferred from Florida for

purposes of litigation, and could be easily moved again for litigation in California.

III.   LEGAL ANALYSIS

       A.      Legal Standard

       “For the convenience of parties and witnesses, in the interest of justice, a district court

may transfer any civil action to any other district or division where it might have been brought.”

28 U.S.C. § 1404(a). In a patent infringement action, motions to transfer pursuant to Section

1404(a) are governed by the law of the regional circuit in which the district court sits. Winner

lnt'l Royalty Corp. v. Wang, 202 F.3d 1340, 1352 (Fed. Cir. 2000), cert. denied, 530 U.S. 1238

(2000) (citations omitted). The decision whether to transfer a civil action is based on the

particular circumstances of the case and is committed to the sound discretion of the trial court.

Hanby v. Shell Oil Co., 144 F. Supp. 2d 673, 676 (E.D. Tex. 2001); Mohamed v. Mazda Corp.,

90 F. Supp. 2d 757, 768 (E.D. Tex. 2000).

       When deciding whether to transfer venue, a district court balances the private interests of

the parties and the public interests in the fair and efficient administration of justice. In re

Volkswagen AG, 371 F.3d 201, 203 (5th Cir. 2004). Where the private and public interest factors

show that another venue is “clearly more convenient,” courts not only may, but should transfer



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the case. In re Volkswagen of America, Inc., 545 F.3d 304, 315 (5th Cir. 2008) (en banc)

(“Volkswagen II”); In re TS Tech United States Corp., 551 F.3d 1315, 1319 (Fed. Cir. 2008)

(issuing writ of mandamus ordering transfer of action from the Eastern District of Texas to the

Southern District of Ohio). Thus, for example, when a substantial number of witnesses live in

the transferee forum, while few live in the plaintiff’s chosen forum, transfer should be ordered.

See In re Genentech, 566 F.3d 1338, 1342-45 (Fed. Cir. 2009); In re Nintendo Co., Ltd., 589

F.3d 1194, 1198 (Fed. Cir. 2009).

       Notably, Plaintiff’s venue choice is not a distinct factor to be considered in the analysis:

“Fifth Circuit precedent clearly forbids treating the plaintiff’s choice of venue as a distinct factor

in the § 1404(a) analysis.” In re TS Tech, 551 F.3d at 1320. Moreover, a showing that the

transferee forum is clearly more convenient cannot be overcome by alleged judicial efficiency

based on other suits pending in an inconvenient district. In re Verizon Bus. Network Serv. Inc.,

635 F.3d 559, 562 (Fed. Cir. 2011) (transfer to a clearly more convenient forum cannot be

overcome based on court’s prior experience with patent); In re Morgan Stanley, 417 F. App'x

947, 949-50 (Fed. Cir. 2011) (transfer appropriate despite the transferor forum’s experience with

one of many asserted patents); In re Apple, Inc., 581 F. App'x 886, 889-90 (Fed. Cir. 2014) (prior

experience with patent family cannot overcome other factors favoring transfer), cert. denied sub

nom. EON Corp. IP Holdings, LLC v. Apple Inc., 135 S. Ct. 1846, 191 L. Ed. 2d. 725 (2015).

       B.      Transfer is Appropriate

               1.      This Case Could Have Been Brought In the Northern District of
                       California

       Transfer may be appropriate only to a forum where the cause of action could have been

brought. 28 U.S.C. §§ 1391(c) & 1400(b); LG Elecs., 131 F. Supp. 2d at 809. Here, there is no

dispute this action could have been brought in the Northern District of California because

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NETGEAR has its principle place of business, and thus is obviously subject to personal

jurisdiction and venue, there. (Khouri Dec. ¶2.)

                2.      The Private Interest Factors Support Transfer

        After determining that a case could have been brought in the transferee forum, a district

court then considers the private interest factors. Sanofi-Aventis Deutschland GmbH v. Novo

Nordisk, Inc., 614 F. Supp. 2d 772, 776 (E.D. Tex. 2009). The private interest factors are: (1) the

relative ease of access to sources of proof; (2) the availability of compulsory process to secure

the attendance of witnesses; (3) the cost of attendance for willing witnesses; and (4) all other

practical problems that make trial of a case easy, expeditious, and inexpensive.                   In re

Volkswagen AG, 371 F.3d 201, 203 (5th Cir. 2004); Volkswagen II, 545 F.3d at 315. These

factors establish that transfer is appropriate in this case.

                        a.      Relative Ease of Access to Sources of Proof Supports Transfer

        The Federal Circuit requires the Court to assume that the bulk of all relevant evidence

will come from the accused infringer. In re Genentech, 566 F.3d at 1345. “Consequently, the

place where the defendant’s documents are kept weighs in favor of transfer to that location.” Id.

(internal quotation marks omitted). Indeed, “almost invariably, this factor will turn upon which

party will most probably have the greater volume of documents relevant to the litigation and

their presumed physical location in relation to the transferee and transferor venues.” Fujitsu Ltd.

v. Tellabs, Inc., 639 F. Supp. 2d 761, 767 (E.D. Tex. 2009).

        Here, the relevant witnesses and key documentary evidence are located in the Northern

District of California. As set forth above, NETGEAR’s documents and data related to non-

infringement and damages, including materials concerning the development, design, marketing,

advertising, testing, sales and financial reporting for the Accused Products, are located at



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NETGEAR’s headquarters in San Jose, California. (Khouri Dec. ¶¶ 5, 19, 20.) Any electronic

data that may be relevant is stored on employee computers and serves in San Jose, on servers in

Mesa, Arizona, or on third party servers of cloud-based storage providers. (Id. ¶20.) For those

materials stored on servers in Arizona or in the cloud, they will be accessed by NETGEAR’s IT

and/or other employees based in the Northern District of California offices. (Id.)

       Similarly, as set forth in the Declaration of Jennifer Khouri (and in NETGEAR’s Rule 26

Initial Disclosures (Bovich Dec. Exh. JJ)), key witnesses, including those that are likely to be

NETGEAR’s corporate representatives, with information material to NETGEAR’s defenses and

the Accused Products, including the Genie App, are all located in San Jose, California, including:

              Ye Zhang, a Sr. Director of Storage Software Engineering at NETGEAR,
               who was primarily responsible for the design of the accused Genie App,
               and also has relevant information concerning the design, development,
               functionality and accused “internal use and testing” of the Accused
               Products, including the NETGEAR Genie App. (Khouri Dec. ¶7, 8.)

              Jennifer Khouri, a Vice President of Customer Experience and Support at
               NETGEAR, who has relevant information concerning the accused internal
               use and testing of the Genie App, as well as relevant information
               concerning customer experience and support of the Accused Products,
               including the Genie App. (Id. ¶9.)

              William Shum, a Senior Staff SQA Engineer in Research & Development,
               and Bo Xu, a Senior Software QA Engineer in Research and
               Development, who also have knowledge of the internal use and testing of
               the Accused Products, including the Genie App. (Id. ¶9.)

              Sandeep Harpalani, a Senior Director in Product Management at
               NETGEAR, who has relevant knowledge of the product development,
               management, marketing and advertising of the Accused Products,
               including the Genie App. (Id. ¶10.)

              Phil Pyo, a Senior Director in NETGEAR’s Product Marketing
               department, who has relevant knowledge concerning marketing and
               advertising of the Accused Products, including the product literature and
               websites related to the Genie App. (Id. ¶11.)

              Gordon Mattingly, a Vice President of Financial Planning and Analysis at


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               NETGEAR, who has relevant knowledge regarding sales, accounting, and
               financial information associated with the Accused Products, including the
               NETGEAR Genie App. (Id. ¶12.)

              Terri Rasay, a Senior Marketing Manager at NETGEAR who has relevant
               knowledge of the marketing and sales of the Accused Products, including
               product literature and website information related to the Accused
               Products, including the NETGEAR Genie App. (Id. ¶13.)

              Jonathan Hallatt is a Vice President of Sales, Americas at NEGEAR, who
               has relevant knowledge of the sales and distribution of the Accused
               Products in North America, including sales and distribution of the Genie
               App. (Id. ¶14.)


       By contrast, there are no key NETGEAR witnesses or documents in Texas. (Id. ¶ 19-21.)

Moreover, even Symbology’s sources of proof are no more accessible in the Eastern District of

Texas than in the Northern District of California. According to his LinkedIn profile and other

records, Mr. Rothschild—the named inventor of the Asserted Patents and the registered agent of

Symbology and prior assignees of the Asserted Patents (Ariel and Reagan Innovations) —lives

and conducts activities in South Florida. (Bovich Dec. Exhs. E-J.) To the extent Mr. Rothschild

or the prior assignees have relevant sources of proof, this evidence, therefore, is likely as easily

accessible in California as it is in Texas.       Further, the patent lawyer and law firms that

prosecuted the patents are all located outside Chicago, and at least one such law firm, TechLaw

LLP, is based in California. (Id. Exhs. K-M.) In short, whereas the bulk of the sources of proof

are in the Northern District of California, there appears to few, if any, relevant documents,

electronic data, or witnesses in this District, and transfer should be granted.

                       b.      The Availability of Compulsory Process to Secure the
                               Attendance of Witnesses

       The second private interest factor concerns the availability of compulsory process to

secure the attendance of witnesses, particularly non-party witnesses. See In re Volkswagen II,



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545 F.3d at 316. The Court evaluates whether the Eastern District of Texas or the Northern

District of California has subpoena power over non-party witnesses. See In re Hoffman-La

Roche, Inc., 587 F.3d 1333, 1337-38 (Fed. Cir. 2009).

       Here, NETGEAR has not identified any material non-party witness that this Court could

compel to attend trial. Conversely, at least two third parties, who are likely to have relevant and

material information, are within the subpoena power of the Northern District of California.

Specifically, the person who conceived of (and came up with the name for) the NETGEAR

Genie App, Vivek Pathela, is a former NETGEAR Vice President of Home/Consumer Products,

with relevant information unique information concerning the conception of the Genie App. He

worked at NETGEAR for over ten years until 2011 and currently remains working within the

Northern District of California. (Khouri Dec. ¶16; Bovich Dec. Exs. EE, FF.) Similarly, former

NETGEAR Senior Product Manager, Alice Tsang, has unique and relevant information

concerning the design, development and operation of the Genie App. Ms. Tsang has remained in

the Bay Area and currently works within the Northern District of California. (Khouri Dec. ¶ 18;

Bovich Dec. Exs. GG, HH.)

                      c.      The Cost of Attendance For Willing Witnesses

       The “single most important factor in the transfer analysis” is the convenience and cost of

witness attendance. Genentech, 566 F.3d at 1343. The question is not whether “all of the

witnesses”, but whether “substantial number” of them are located in the transferee forum. Id. at

1345; see also ACQIS LLC v. EMC Corp., No. 6:13-CV-639, 2014 WL 5485900, at *3 (E.D.

Tex. Sept. 10, 2014). “Because it generally becomes more inconvenient and costly for witnesses

to attend trial the further they are away from home, the Fifth Circuit established in Volkswagen I

a ‘100-mile’ rule, which requires that ‘[w]hen the distance between an existing venue for trial of

a matter and a proposed venue under §1404(a) is more than 100 miles, the factor of

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inconvenience to witnesses increases in direct relationship to the additional distance to be

traveled.’” In re TS Tech USA Corp., 551 F.3d 1315, 1320 (Fed. Cir. 2008) (citations omitted).

          Here, NETGEAR has identified nine employees located in the Northern District of

California as willing witnesses with relevant knowledge of the Accused Products, including the

Genie App.       Conversely, apparently not a single party witness lives in this District.                See

Nintendo, 589 F.3d at 1198. The Northern District of California is obviously more convenient

for NETGEAR’s witnesses because, to attend trial, no overnight travel would be required. While

waiting to testify in court, these witnesses also could still go into the office. In contrast, a trial in

Texas would require these NETGEAR employees to fly and stay overnight over 1,700 miles

from home and work for an indefinite period of time. (Bovich Dec. Exh. V.)

          Finally, with respect to any willing witnesses traveling from the Florida-area, the travel

burden is about equal between this District and the Northern District of California. Although this

District may be closer as the crow flies, the convenience analysis also should take into account

that “the existence or non-existence of direct flights can impact the analysis of travel time.” See

Orderin IPVX Patent Holdings at 5 (citing In re Genentech, 566 F.3d 1338, 1343 (Fed. Cir.

2009)).     Whereas from south Florida (Miami), there are direct to the Northern District of

California, there are none to the airport closest to Marshall, Texas – Shreveport, Louisiana.

Thus, the travel burden to litigate here includes the time required for connecting flights, plus

time to rent a car and drive from Shreveport to Marshall, for a total of well over 5 hours of travel

time.3 (Bovich Dec. Exh. W, X.) On the other hand, travel time from Miami to the Northern

District of California (San Francisco International Airport) on one of many offered direct flights


3 Alternatively, flights from Miami direct to Dallas take just over 3 hours, and the drive time
from Dallas to Marshal is about 3 hours, resulting in travel time of a little more than 6 hours.
(Id. Exs. Y, Z.)


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is just a little over 6 hours. (Id. Exh. BB.)4 In sum, this factor heavily favors transfer.

                       d.      Other Practical Factors Are Neutral

       The final private interest considerations are the practical problems related to the ease,

expense, and expediency of trial. This factor is neutral. Notably, Symbology’s choice to file

numerous suits in this District concerning the same asserted patents cannot overcome an

otherwise strong argument for transfer. In re Verizon, 635 F.3d at 562. Moreover, the Court has

not yet performed any substantive analysis with respect to the patents or technology at issue.

(Bovich Dec. Ex. DD).

               3.      The Public Interest Factors Collectively Favor Transfer

       After considering the private interest factors, the Court considers the public interest

factors, which are:    (1) administrative difficulties flowing from court congestion; (2) local

interest in having localized interests decided at home; (3) the familiarity of the forum with the

law that will govern the case; and (4) the avoidance of unnecessary problems of conflict of laws

or in the application of foreign law. Volkswagen, 545 F.3d at 315.

                       a.      Administrative Difficulties Flowing from Court Congestion

       The speed with which a case may advance to trial is relevant under the Section 1404(a)

analysis, but this factor alone cannot outweigh the other factors. Genentech, 566 F.3d at 1347.

According to the Federal Judicial Caseload Statistics, the median time to resolve a case is very

similar as between the Northern District of California and the Eastern District of California: 7.9

months, and 8.3 months, respectively. (Bovich Dec. Ex. CC.) The median time to trial in civil



4 Alternatively, flights from Miami to San Jose International Airport require a stop and take a
little over 7.5 hours. (Id. Ex. AA.)


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cases is slightly shorter here (22.1 months) as compared with the Northern District of California

(30 months). (Id.) Overall, this factor is neutral.

                       b.      Local Interest in Adjudicating Local Disputes

       This factor considers the connection that the case has with both the transferee and

transferor venues. In re Genentech, 566 F.3d at 1347. This factor favors transfer where, as here,

local interest in the case is strong in the transferee district because the case “calls into question

the work and reputation of several individuals residing in or near that district and who

presumably conduct business in that community.” See Hoffman-La Roche, 587 F.3d at 1336;

Chrimar Systems, Inc. v. NETGEAR, Inc., Civil Action No. 6:15-cv-00634 JRG-JDL, Dkt. 34

(1/15/16 Order) at 13, Appendix 1 hereto.

       Here, NETGEAR is headquartered in the Northern District of California and employs

individuals there who will likely be witnesses in the case, and whose work directly relates to the

Accused Products, including the Genie App. (Khouri Dec. ¶¶6-18.) Conversely, there is little or

no substantive connection to this district. Thus, this factor weighs in favor of transfer.

                       c.      Remaining Public Interest Factors

       Both courts are familiar with and will apply federal patent law, there are no conflicts to

avoid, and thus the remaining public interest factors are neutral.

IV.    CONCLUSION

       For the reasons set forth above, NETGEAR respectfully requests that the Court transfer

this case to the Northern District of California.

October 3, 2016                   Respectfully submitted,



                                           /s/            John P. Bovich

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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court's

CM-ECF System per Local Rule CV-5(a)(3) on this 3rd day of October 2016.

                                                    /s/_John P. Bovich___________________
                                                    John Bovich



                           CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel for Defendant has complied with the meet

and confer requirement in Local Rule CV-7(h). This motion is opposed. The personal conference

required by Local Rule CV-7(h) was conducted on October 3, 2016 via telephone with the

following participants: for Plaintiff Symbology, Jay Johnson; for Defendant NETGEAR, John



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Bovich. On October 3, 2016, Jay Johnson stated that Symbology opposes this motion.


                                                    /s/_John P. Bovich___________________
                                                    John Bovich




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         APPENDIX 1
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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

CHRIMAR SYSTEMS, INC., and                   §
CHRIMAR HOLDINGS COMPANY,                    §
LLC                                          §
                                             §
       Plaintiffs,                           §
                                             §     CIVIL ACTION NO. 6:15-CV-634
                                             §     JRG-JDL
V.                                           §
                                             §     JURY TRIAL DEMANDED
NETGEAR, INC.                                §
                                             §
       Defendant.                            §
                                             §


                        MEMORANDUM OPINION AND ORDER

       Before the Court is Defendant Netgear Inc.’s (“Netgear”) Motion to Transfer Venue

Pursuant to 28 U.S.C. §1404(a). (Doc. No. 22.) Plaintiffs Chrimar Systems, Inc. and Chrimar

Holding Company, LLC (“Chrimar”) filed a response (Doc. No. 27) to which Netgear filed a

reply (Doc. No. 30). After considering the parties’ arguments, the Court GRANTS Netgear’s

Motion to Transfer Venue (Doc. No. 22).

                                      BACKGROUND

       Chrimar Systems Inc. is a Michigan corporation, with a principal place of business

located at 36528 Grand River Avenue, Suite A-1, Farmington Hills, Michigan 48335. (Doc. No.

13, at ¶ 1.) Chrimar Holding Company, LLC is a Texas limited liability company with a place of

business located at 911 NW Loop 281, Suite 211-30, Longview, Texas 75604. Id. at ¶ 2.

Chrimar Systems, Inc. is the owner of the patents-in-suit and licensed those patents to Chrimar

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Holding Company, LLC. (Doc. No. 27-1, Declaration of John F. Austermann, III, at ¶¶ 5, 6)

(“Austermann Decl.”).) Chrimar Holding Company, LLC maintains a single office in Longview,

Texas, where it employs one full-time employee, Amanda Barnes. Id. at ¶ 7. Ms. Barnes’s

duties include supporting Chrimar’s licensing efforts by conducting product research, product

testing, and marketing support. Id. Chrimar’s documents related to the patents-in-suit and

electronic documents relating to its Etherlock® products are located either at Chrimar’s

Longview office or on servers in Dallas, Texas. Id. at ¶ 8.

       Netgear is a Delaware Corporation with a principal place of business at 350 East

Plumeria Drive, San Jose, California, 95134-1911. (Doc. No. 22-1, Declaration of Peter Newton,

at ¶ 4) (“Newton Decl.”).) Netgear has approximately 287 employees in its San Jose

headquarters, which accounts for 70% of its U.S.-based employees. Id. at ¶ 5.              Netgear

specifically identifies five employees who have knowledge regarding the accused products and

work at Netgear’s San Jose headquarters. Id. at ¶ 7. Netgear identifies that its documents are

stored electronically in San Jose, as well as on servers in Mesa, Arizona, and through third-party

cloud-based systems located at Netgear’s San Jose headquarters. Id. at ¶ 8. Netgear specifically

identifies four employees who are located in San Jose who would have relevant information

regarding the location of the documents and the ability to retrieve and recover such documents

from the server if necessary. Id. at ¶ 9. Netgear’s hard copy documents related to the accused

products, such as technical, packaging and marketing documents are located in the Northern

District of California. Id. at ¶ 10. Netgear has three Texas-based employees, two salespersons

and one product line specialist who works on products not accused in this action. Id. at ¶ 12.


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                                      LEGAL STANDARD

       Section 1404(a) provides that “[f]or the convenience of the parties and witnesses, in the

interest of justice, a district court may transfer any civil action to any other district or division

where it might have been brought.” 28 U.S.C. § 1404(a). The goals of § 1404(a) are to prevent

waste of time, energy, and money, and also to protect litigants, witnesses, and the public against

unnecessary inconvenience and expense. Van Dusen v. Barrack, 376 U.S. 612, 616 (1964).

Ultimately it is within a district court’s sound discretion to transfer venue pursuant to 28 U.S.C.

§ 1404(a), but the court must exercise its discretion in light of the particular circumstances of the

case. Hanby v. Shell Oil Co., 144 F. Supp. 2d 673, 676 (E.D. Tex. 2001); Mohamed v. Mazda

Corp., 90 F. Supp. 2d 757, 768 (E.D. Tex. 2000). The party seeking transfer must show good

cause for the transfer. In re Volkswagen of America, Inc., 545 F.3d 304, 315 (5th Cir. 2008) (en

banc) (“Volkswagen II”).      To show good cause, the moving party must demonstrate the

transferee venue is clearly more convenient. Id.

       When deciding whether to transfer venue, a district court balances the private interests of

the parties and the public interests in the fair and efficient administration of justice. The private

interest factors the court considers are: (1) the relative ease of access to sources of proof; (2) the

availability of compulsory process to secure the attendance of witnesses; (3) the cost of

attendance for willing witnesses; and (4) all other practical problems that make trial of a case

easy, expeditious, and inexpensive. In re Volkswagen AG, 371 F.3d 201, 203 (5th Cir. 2004)


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(“Volkswagen I”). The public interest factors are: (1) the administrative difficulties flowing from

court congestion; (2) the local interest in having localized interests decided at home; (3) the

familiarity of the forum with the law that will govern the case; and (4) the avoidance of

unnecessary problems of conflict laws or in the application of foreign law. Id.

                                         DISCUSSION

       The threshold issue in a § 1404(a) analysis is “whether the judicial district to which

transfer is sought would have been a district in which the claim could have been filed.”

Volkswagen I, 371 F.3d at 203. In a patent infringement action, venue is proper in “the judicial

district where the defendant resides, or where the defendant has committed acts of infringement

and has a regular and established place of business.” 28 U.S.C. § 1400(b). In this case, Chrimar

does not contest that Netgear conducts business within the Northern District of California and

transfer is permissible under § 1404.

I.     The Private Interest Factors

       (a) The Relative Ease of Access to Sources of Proof

       For this factor to weigh in favor of transfer, the movant must demonstrate that transfer

will result in more convenient access to sources of proof. The Federal Circuit requires the Court

to assume that the bulk of all relevant evidence will come from the accused infringer. In re

Genentech, 566 F.3d 1338, 1345 (Fed. Cir. 2009). As a result, “the place where the defendant’s

documents are kept weighs in favor of transfer to that location.” Id. (quoting Neil Bros. Ltd. v.

World Wide Lines, Inc., 425 F. Supp. 2d 325, 330 (E.D.N.Y. 2006)). To meet its burden, Netgear

must identify its sources of proof with some specificity such that the Court may determine


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whether transfer will increase the convenience of the parties. In re Apple, 743 F.3d at 1379; see

also Invitrogen v. Gen. Elec. Co., No. 6:08–CV–113, 2009 WL 331889 at *3 (E.D. Tex. Feb. 9,

2009) (finding that general statements that relevant documents were located in either England or

New Jersey “fail to show that transfer would make access to sources of proof either more or less

convenient for the parties”).

        Through its declarations, Netgear maintains that employees with relevant knowledge

regarding the accused products are located in the Northern District of California. (Newton Decl.

at ¶¶ 7-9.) Netgear specifically identifies the following five employees with relevant information

located in San Jose, California:

       Peter Newton, Senior Director Product Line Manager, Commercial Business Unit
        in the Marketing department, knowledge regarding how NETGEAR markets the
        accused products and the development and design of the accused products;

       Bradley Verona, Senior Product Line Manager, Volume Switches, Commercial
        Business Unit, Product Marketing in the Marketing department, knowledge
        regarding the lifecycles of the accused products;

       Karine Tripier, Senior Program Manager, R&D – Business Products & Solutions,
        knowledge regarding the development process for NETGEAR’s business
        products, including the accused products;

       Phoebe Tsai, Director, Strategic Purchasing in the Operations department,
        knowledge regarding the purchasing of Power over Ethernet chips and other
        components for the accused products, and knowledge of which Power over
        Ethernet chip vendors and original design manufacturers were used by
        NETGEAR in the development and manufacturing of the accused products; and

       Gordon Mattingly, VP of Financial Planning and Analysis in the Finance and
        Sales department, knowledge regarding the sales and financing of the accused
        products.

Id. at ¶ 7.


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       As to its documents, Netgear contends that the hard copy documents related to the

accused products and its electronic data and documents are stored in the Northern District of

California. Id. at ¶ 10. Netgear also maintains that employees of third-parties store relevant

documents on cloud-based systems in San Jose, California, and that some electronic documents

are on servers located in Mesa, Arizona. Id. at ¶ 8.

       Chrimar identifies one employee in its Longview, Texas office—Amanda Barnes—who

is responsible for supporting Chrimar’s licensing efforts, conducting product research, testing

products, and marketing. (Austermann Decl. at ¶ 7.) Chrimar contends that hardcopy documents

relating to the asserted patents and electronic documents relating to its Etherlock® products,

which implement the patented technology, including marketing material for those products, are

located in its Longview office and on servers in Dallas, Texas. Id. at ¶ 8. Chrimar also states that

its EtherLock® products, which implement the patented technology, are physically located in the

Eastern District of Texas. (Doc. No. 27, at 9.) Chrimar maintains it intends to present and

demonstrate these products at trial and will make them available for inspection in this District.

Id. Chrimar also maintains generally that Texas Instruments (“TI”) will have substantial amounts

of relevant documents. Id.

       Here, Netgear has specifically identified the location of its sources of proof in the

Northern District of California, including specific employees with relevant knowledge and

specific documents related to the accused products. Chrimar has identified only one employee

with relevant knowledge and one product located in this District, along with several relevant

documents located in this District. Chrimar also generally identifies TI as having relevant


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documents, but does not specify the relevance of those documents to this litigation. In weighing

this factor, the Court must acknowledge that “the bulk of relevant evidence usually comes from

the accused infringer.” Genentech, 566 F.3d at 1345. Chrimar calls into question Netgear’s

servers located in Arizona, and also claims email servers are based elsewhere. (Doc. No. 27, at

7.) Chrimar also faults Netgear for not identifying the total volume of documents it has in the

Northern District of California, but neither party has identified for the Court the total volume of

relevant documents. Again, the Court must acknowledge in this instance that the bulk of

documents will come from the accused infringer; particularly, where, as here, the accused

infringer has identified specific documents located at its headquarters. The Court does not

discount Chrimar’s relevant documents in this District. However, on balance, considering the

number of witnesses identified in each district, as well as the specific categories of documents

identified, the Court finds this factor weighs in favor of transfer.

       (b)The Availability of the Compulsory Process to Secure the Attendance of Witnesses

       The second private interest factor instructs the Court to consider the availability of

compulsory process to secure the attendance of witnesses, particularly non-party witnesses

whose attendance may need to be secured by a court order. See In re Volkswagen II, 545 F.3d at

316. The Court gives more weight to those specifically identified witnesses and affords less

weight to vague assertions that witnesses are likely located in a particular forum. See Novelpoint

Learning v. Leapfrog Enter., No 6:10-cv-229, 2010 WL 5068146, at *6 (E.D.Tex Dec. 6, 2010)

(stating that the Court will not base its conclusion on unidentified witnesses); See also West




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Coast Trends, Inc. v. Ogio Int’l, Inc., No. 6:10-cv-688, 2011 WL 5117850, at *3 (E.D. Tex. Oct.

27, 2011).

       Netgear identifies one third-party, Geoffrey Thompson, who was the IEEE 802.3

Working Group Chairperson and who is located in the Northern District of California. (Doc. No.

22, at 12-13.) Chrimar contends that Mr. Thompson has served as an expert witness by

defendants in other cases filed by Chrimar and that his weight should be discounted because

Netgear could retain him as an expert. (Doc. No. 27, at 11.) However, given that Netgear has

identified Mr. Thompson as a third-party potential witness and does not indicate any intention to

retain him as an expert, the Court accepts that Netgear has identified a third-party potential

witness located in the Northern District of California.

       Chrimar specifically identifies two third-party witnesses who are claimed to have

relevant knowledge. (Doc. No. 27, at 12–13.) Chrimar first identifies Martin Patoka of Texas

Instruments (“TI”) who Chrimar maintains has knowledge regarding the IEEE 802.3at Task

Force’s knowledge of Chrimar’s patents and the decision to adopt the standard without

considering these rights. Id. at 12. Chrimar contends that Mr. Patoka is still employed by TI,

which is located within 100 miles of this Court, and therefore that he is subject to the full

subpoena power of this Court. Id. Chrimar also identifies Marc Sousa, a former Firmware

Design Manager at TI who has knowledge of the design of PoE controllers. Id. at 13. Chrimar

contends Mr. Sousa is subject to the full subpoena power of this Court as he is located in

McKinney, Texas. Id. Chrimar maintains that these witnesses are of particular importance




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because Netgear alleges the actions of the IEEE are relevant and at least some of Netgear’s

accused products use TI PoE controllers such as the TI TPS2375. Id. at 12–13.

          Weighing the one third-party witness specifically identified in the Northern District of

California, against the two specifically identified third-party witnesses in Texas, the Court finds

this factor is neutral.

          (c) The Cost of Attendance for Willing Witnesses

          In analyzing this factor, all parties and witnesses must be considered. Volkswagen I, 371

F.3d at 204. “Because it generally becomes more inconvenient and costly for witnesses to attend

trial the further they are away from home, the Fifth Circuit established in Volkswagen I a ‘100-

mile’ rule, which requires that ‘[w]hen the distance between an existing venue for trial of a

matter and a proposed venue under §1404(a) is more than 100 miles, the factor of inconvenience

to witnesses increases in direct relationship to the additional distance to be traveled.’” In re TS

Tech USA Corp., 551 F.3d 1315, 1320 (Fed. Cir. 2008) (citations omitted).

          As discussed, Netgear has specifically identified five employees as willing witnesses with

relevant knowledge of the accused products who are located in the Northern District of

California. (Newton Decl. at ¶ 7.) Netgear has also identified Mr. Thompson who is located in

the Northern District of California. (Doc. No. 22, at 12–13.) Netgear maintains that having trial

in this District would significantly increase the inconvenience and expense for these witnesses.

          Chrimar identifies Ms. Barnes who is a full-time employee located in Longview, Texas

who will testify about the marketing of Chrimar’s patented EtherLock® products. (Doc. No. 27,

at 10.)     Chrimar also identifies the inventors of the patents-in-suit, John Austermann and


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Marshall Cummings, who are located in the Detroit area and therefore are closer to this District

than the Northern District of California. Id. at 11. Chrimar maintains a trial in this District would

be more convenient and less expensive for these witnesses. As discussed above, Chrimar has

also specifically identified two third-party witnesses who are located in or near this District.

(Doc. No. 27, at 12–13.)

       In sum, Netgear has identified five willing witnesses in the Northern District of

California, and Chrimar has named one willing witnesses in this District. In addition, there are

two third-party witnesses identified for whom this District would be more convenient, and one

for whom the Northern District of California would be more convenient. The convenience of the

named inventors, being located in Michigan, is neutral. Thus, on balance, the Court finds this

factor weighs in favor of transfer.

       (d) Other Practical Problems

               (i) Judicial Economy

       Although judicial economy is not among the list of the enumerated factors, it can be a

consideration when determining whether a transfer is in the interest of justice. Volkswagen II,

565 F.2d at 1351. Chrimar contends that judicial efficiency weighs against transfer because of

this Court’s familiarity with the patents-in-suit. (Doc. No. 27, at 5.) There are five cases filed in

this District in 2013 that allege infringement of one of the patents-in-suit, U.S. Patent No.

8,155,012 (“the ’012 Patent”): 6:13-cv-879, -880, -881, -882, -883 (hereinafter “Chrimar I”

cases). There are also two cases filed in this District in 2015 that involve all four of the patents-

in-suit: 6:15-cv-163, -164 (hereinafter “Chrimar II” cases). As discussed, the Chrimar I cases all


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involved one of the asserted patents in the instant action. The undersigned presided over all five

of those cases and issued a claim construction opinion construing disputed terms of the ’012

Patent. All five cases settled prior to the filing of the instant action. One of the Chrimar II

cases, 6:15-cv-163, involves all four of the asserted patents-in-suit, and the other, 6:15-cv-164,

involves two of the patents-in-suit. Both of these cases are assigned to the undersigned. At the

time the instant action was filed, the Chrimar II cases had been consolidated and were ready for

a scheduling conference. In addition, on the same day the instant action was filed, twenty-five

additional cases were filed in this District alleging infringement of the same patents, and five

recently-filed additional cases involving two of the asserted patents were also pending in this

District.


        Netgear maintains that the Northern District of California will have some experience

from handling one currently pending case, 4:13-cv-1300, involving a related patent, U.S. Patent

No. 7,457,250 (“the ’250 Patent”). (Doc. No. 22, at 13–14.) Prior to the initiation of this action,

Judge White issued a claim construction opinion construing the disputed terms of the ’250

Patent. (4:13-cv-1300, Doc. No. 254.)

        For purposes of judicial economy, the Court recognizes those benefits that were apparent

at the time the instant action was filed. See In re EMC Corp., 501 F. App’x. 973, 976 (Fed. Cir.

2013) (“a district court may properly consider any judicial economy benefits which would have

been apparent at the time the suit was filed”). Here, at the time the instant action was filed, the

undersigned had previously construed the disputed terms of one of the patents-in-suit in a

terminated case, had one case pending with all four asserted patents, six additional cases with

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two of the asserted patents, and twenty-five co-filed cases with all four of the patents-in-suit

asserted. The Northern District of California had one case pending involving a related patent for

which it had construed the disputed claim terms.

       Given that this Court is the only court with substantive experience with some of the

patents-in-suit, and currently has twenty-five pending cases involving all four asserted patents,

and six cases involving two asserted patents—all assigned to the same judge—there were at least

some apparent judicial economy benefits at the time of the filing that favor this action remaining

in this District. While it appears the Northern District of California also had some familiarity

with a related patent, this Court’s substantive familiarity with the patents-in-suit weighs slightly

against transfer.

II.    The Public Interest Factors

       The parties agree that the public interest factors are neutral, aside from the administrative

difficulties flowing from court congestion and local interest considerations.

       (a) The Administrative Difficulties Flowing From Court Congestion

       This factor is the most speculative, and cannot alone outweigh other factors. Genentech,

566 F.3d at 1347. However, the speed with which a case may get to trial is relevant under the §

1404(a) analysis. Id. Netgear cites varying general civil litigation statistics and contends this

factor is neutral. (Doc. No. 22, at 14–15.) Chrimar cites to this Court’s prior analysis based on

data it presented regarding a case pending in the Northern District of California involving one

related patent with a trial date set for August 22, 2016, forty-one months after it was initiated in

the Northern District of California, compared to the Chrimar II cases (involving all four and two


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of the patents-in-suit, respectively) that are set for trial in October 2016, less than nineteen

months from when those cases were initiated in this District. (Doc. No. 27, at 14.) As this Court

previously stated, while generally the Court finds this factor to be speculative in nature, in this

instance, the co-pendency of related patent infringement actions is instructive. Where this Court

has set trial on its related patent cases in a time frame that moves the case to trial twice as fast as

the related case in the Northern District of California (nineteen months compared to forty-one

months), the Court finds this factor weighs slightly against transfer.

       (b) The Local Interest in Having Localized Interests Decided at Home

       Netgear contends that the Northern District of California has a local interest in this case

because Netgear is headquartered there and the vast majority of party witnesses and evidence are

located in California. (Doc. No. 22, at 15.) Chrimar maintains that this District has a local

interest in these actions because Chrimar Holdings Company LLC is a Texas company that has

been based in Longview, Texas for several years and maintains one full-time employee. (Doc.

No. 27, at 14–15.) Ultimately, because Netgear has identified several individuals whose work

relates to the accused technology and who are located in the Northern District of California, the

Court finds that the Northern District of California has a local interest in the outcome of the

litigation. See Hoffman-La Roche, 587 F.3d at 1336 (“[L]ocal interest in this case remains strong

because the cause of action calls into question the work and reputation of several individuals

residing in or near that district and who presumably conduct business in that community.”); Eon

Corp. IP Holdings, LLC v. Sensus, USA Inc., No. 2:10-cv-448, 2012 WL 122562, at *5 (E.D.

Tex. Jan. 9, 2012). This District also has at least some local interest as Chrimar has an office in


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this District and employs at least one permanent employee in this District. On balance, this factor

weighs in favor of transfer because Netgear has specifically identified individuals whose work

and reputation are being called into question by allegations of infringement. Such a designation

weighs more heavily than Chrimar’s identification of one individual largely involved in licensing

and marketing activities.

       (c) The Remaining Public Interest Factors

       The remaining public interest factors are neutral. Both courts are familiar with federal

patent law and there are no conflicts to avoid.

                                         CONCLUSION

       Upon balancing the venue factors, the Court finds that the Northern District of California

is a clearly more convenient forum. Here, the location of sources of proof, the convenience of

willing witnesses, and the local interest weigh in favor of transfer. These three important factors,

considered together, ultimately weigh heavily in favor of transfer in this case. Considerations of

judicial economy and the administrative difficulties arising from court congestion weigh slightly

against transfer. All other factors are neutral. The Court acknowledges that the strongest factor

against transfer on the facts before it is judicial economy. In this situation, where Netgear has

made a strong showing in favor of transfer on factors such as the location of sources of proof and

the convenience of witnesses, the benefits of judicial economy do not outweigh Netgear’s

showing that the Northern District of California is clearly more convenient. Simply put, where

Netgear has shown the Northern District of California is a clearly more convenient forum, the

considerations of judicial economy involving this Court’s prior experience with an overlapping


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patent and co-pending cases do not override that showing to warrant a denial of transfer. See In

re Verizon, 635 F.3d 559, 562 (Fed. Cir. 2011) (“[t]o interpret § 1404(a) to hold that any prior

suit involving the same patent can override a compelling showing of transfer would be

inconsistent with the policies underlying § 1404(a)”); In re Morgan Stanley, 417 F. App’x 947,

949 (Fed. Cir. 2011) (“[t]he proper administration of justice may be to transfer to the far more

convenient venue even when the trial court has some familiarity with a matter from prior

litigation”); In re Apple, 581 F. App’x 886, 889 (“judicial economy is just one relevant

consideration in determining how administration of the court system would best be served in

deciding a transfer motion.”) Accordingly, the Court GRANTS Netgear’s motion to transfer

(Doc. No. 22).




          So ORDERED and SIGNED this 15th day of January, 2016.




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